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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.         2:18-cv-01832-SVW-JC                                           Date   April 6, 2022
 Title            Tremaine Carroll v. State of California



 Present: The Honorable             Jacqueline Chooljian, United States Magistrate Judge
                  Kerri Hays                                   None                             None
                Deputy Clerk                         Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:
                         none present                                         none present
 Proceedings:                  (IN CHAMBERS)

                               ORDER (1) DIRECTING CLERK TO UPDATE PLAINTIFF’S
                               ADDRESS ON DOCKET AND TO SERVE PLAINTIFF AT OLD AND
                               UPDATED ADDRESS; AND (2) DIRECTING PLAINTIFF TO
                               PROMPTLY NOTIFY COURT OF ANY ADDRESS CHANGE AND
                               CAUTIONING PLAINTIFF REGARDING CONSEQUENCES OF
                               FAILURE TO FULFILL HIS OBLIGATION TO UPDATE COURT
                               REGARDING HIS ADDRESS

        Although Plaintiff has not filed a notice updating the Court regarding his address, it appears from
Plaintiff’s most recent submissions to the Court (Docket Nos. 14, 16, 18), that he is housed at Mule
Creek State Prison instead of Richard J. Donovan Correctional Facility (as reflected on the Docket).
Accordingly, the Clerk is directed to update the Docket with Plaintiff’s Mule Creek State Prison
address: Tremaine Carroll, CDCR #H73384, Mule Creek State Prison, P.O. Box 409089, Ione, CA
95640. The Clerk is directed to serve this Order on Plaintiff at both the address at Richard J.
Donovan Correctional Facility and the address at Mule Creek State Prison.

        As the Court has previously advised Plaintiff (see Docket No. 4), he must promptly notify the
Court of any address change and he is Ordered to do so. See Local Rule 83-2.4 (any party who has
appeared pro se in a case pending before the Court, and who changes his address must, within five days
of the change, notify the Clerk of Court in writing); see also Local Rule 41-6 (party proceeding pro se
must keep the Court and all other parties informed of the party’s current address as well as any
telephone number and email address). Plaintiff is again cautioned that his failure promptly to
update the Court regarding any address change may result in the dismissal of this action with or
without prejudice for failure to prosecute. See Local Rule 41-6 (if Court order/other mail served
on pro se plaintiff at his address of record is returned by the Postal Service as undeliverable and
pro se plaintiff has not filed a notice of change of address within 14 days of the service date of the
order/other Court document, Court may dismiss action with or without prejudice for failure to
prosecute).

         IT IS SO ORDERED.
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